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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

STATE OF FLORIDA, et al.,

      Plaintiffs,
v.                                           CASE NO. 8:24-cv-1080-WFJ-TGW

DEPARTMENT OF HEALTH AND
HUMAN SERVICES, et al.,

     Defendants.
__________________________________/

                                ORDER
                    PERMITTING ELECTRONIC DEVICES

      The cause comes before the Court for a hearing on June 21, 2024. in

Courtroom 15B of the Sam M. Gibbons United States Courthouse, 801 N. Florida

Ave., Tampa, Florida. It is therefore ORDERED AND ADJUDGED as follows:

      1) Allison Pope, counsel, shall be permitted to bring one cellular telephone,

         one laptop or iPad, and the associated cables into the courthouse during

         the trial of this matter.

      2) Cellular telephones may be used only outside Courtroom 15B unless

         specific permission is sought from the Judge. The cellular telephone

         must be placed on silent while inside the courtroom.

      3) The individual authorized by this Order shall present a copy of this Order

         to security personnel whenever they enter the courthouse with an
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         electronic device. Security personnel also require the authorized person

         to present picture identification at each time of entry. The electronic

         devices are subject to inspection and exclusion, at their sole discretion, at

         any time by security personnel.

      4) This Order and associated permission to bring electronic devices into the

         courthouse may be revoked at any time for any reason by this Court.

      DONE AND ORDERED at Tampa, Florida, on June 21, 2024.




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Counsel of record




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